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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TENNESSEE 95 JUF‘§ 27 Pl°'l 2: 55
Western Division

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UNITED STATES OF AMERICA
.v. Case No. 2:02cr20098-B
CHARMANE JONES

ORDER SETI'|NG

COND|T|ONS OF RELEASE

IT IS ORDERED that the release of the defendant is subject to the following conditions and provisions:

(1) The defendant shall not commit any offense in violation of federal, state or local law while on release in this
case.

(2) The defendant shall immediately advise the court, Pretrial Services Office, Probation Office, defense counsel
and the U.S. Attorney in writing of any change in address and telephone number.

(3) The defendant shall appear at all proceedings as required and shall surrender for service of any sentence

imposed as directed. The defendant shall next appear for Detention Hearing in the United States Courthouse
and Federal Building in Courtroom M-3 (9"’ floor) on THURSDAY, JUNE 30, 2005, at 2:30 PM.

ADD|T|ONAL COND|T|ONS OF RELEASE

In order reasonably to assure the appearance of the defendant and the safety of other persons and the
community, it is FURTHER ORDERED that the release of the defendant is subject to the conditions marked below:

Unsecured Financlal Condition
0 The defendant executes an unsecured bond binding the defendant to pay the United States the sum of

$5,000.00 in the event of a failure to appear as required or to surrender as directed for service of any sentence
imposed.

Secured Finaucial Conditions
0 report as directed by the Probation Oftice.

o other: Defendant shall abide by all conditions of supervised release previously imposed..

ADV|CE OF PENALT|ES AND SANCT|ONS

TO THE DEFENDANT:

Thls document entered on the docket sheet ln compliance
AO199A OroerSetnnq Conditions of F\e|easa ' '

with Fiu|e 55 and/or 32(b) FHCrP on ” L____)

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YOU ARE ADV|SED OF THE FOLLOW|NG PENALT|ES AND SANCT|ONS:

A violation of any of the foregoing conditions of release may result in the immediate issuance of a warrant for
your arrest, a revocation of release, an order of detention, and a prosecution for contempt of court and could result in
a term of imprisonment, a fine, or both.

The commission of a Federal offense while on pretrial release may result in an additional sentence to a term
of imprisonment of not more than ten years, if the offense is a felony; or a term of imprisonment of not more than one
year, if the offense is a misdemeanor. This sentence shall be in addition to any other sentence

Federal law makes it a crime punishable by up to ten years of imprisonment and a $250,000 fine or both to
obstruct a criminal investigation lt is a crime punishable by up to ten years of imprisonment, and a $250,000 fine or
both to tamper with a witness, victim or informant; to retaliate or attempt to retaliate against a witness, victim or
informant; or to intimidate or attempt to intimidate a witness, victim, juror, informant or officer of the court. The
penalties for tarnpering, retaliation, or intimidation are significantly more serious if they involve a killing or attempted
killing

lf after release, you knowingly fail to appear as required by the conditions of release, or to surrender for the
service of sentence, you may be prosecuted for failing to appear or surrender and additional punishment may be
imposed. If you are convicted of:

(l) an offense punishable by death, life imprisonment or imprisonment for a term of fifteen years or more, you
shall be fined not more than $250,000 or imprisoned for not more than ten years, or both;
{2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years, you shall

be fined not more than $250,000 or imprisoned not more than five years, or both;
(3) any other felony, you shall be fined not more than $250,000 or imprisoned not more than two years, or both;
(4) a misdemeanor, you shall be fined not more than $100,000 or imprisoned not more than one yea.r, or both.
A term of imprisonment imposed for failure to appear or surrender shall be in addition to the sentence for any
other offense In addition, a failure to appear may result in the forfeiture of any bond posted.

ACKNOWLEDGMENT OF DEFENDANT

l acknowledge that I am the defendant in this case and thatI am aware of the conditions of release. Iprornise
to obey all conditions of release, to appear as directed, and to surrender for service of any sentence imposed. I am aware

of the penalties and sanctions set forth above.
f
` Signature of fendant

CHARMANE JONES
2510 LOCKMEADE
MEMPHIS, TN 38127
901 -649-1366

AO 199A Order Setting Conditions of Re|ease '2'

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DlRECTlONS TO THE UN|TED STATES MARSHAL

The defendant is ORDERED released after processing.

The United States marshal is ORDERED to keep the defendant in custody until notified by the Clerk or
J udicial Ofticer that the defendant has posted bond and/or complied with all other conditions for release The
defendant shall be produced before the appropriate judicial officer at the time and place specified, if still in
custody.

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Date: June 27, 2005 _&/ E. M. Boaen
EUGENE M. BOGEN
UNTI`ED STATES MAGISTRATE JUDGE

AO 199A Order Setting Conditions of Relaasa -3-

'DISTRIC COURT - WESRNTE DSTCT 0 TESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 51 in
case 2:02-CR-20098 Was distributed by faX, mail, or direct printing on
June 28, 2005 to the parties listed.

 

 

Timothy R. DiScenZa

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Murray B. Wells

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Honorable J. Breen
US DISTRICT COURT

